10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

Page 1 of 28 Page |D #:10
§:“it§;;`jéi

Case 2:11-Cr-OO762-PSG Document3 Filed 08/05/11

ANDRE BIROTTE JR. ,m
United States Attorney '
ROBERT E. DUGDALE 7 1
Assistant United States Attorney ¢…:g 11
Chief, Criminal Division hh§~;m§@g
PAUL G. STERN (Cal. State Bar NO. 162734) Mw
Assistant United States Attorney " "“WW……M~~~WWWM
Senior Litigation Counsel, Major Frauds
1100 United States Courthouse
312 North Spring Street
Los Angeles, California 90012
Telephone: (2l3) 894#0715
FaCSimile: (213) 894-6269
E-mail: paul.Stern@usdoj.gov
Attorneys for Plaintiff
UNITED STATES GF AMERICA

   

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

UNITED STATES OF`AMERICA,

 

)
)
Plaintiff, ) PLEA AGREEMENT FOR DEFENDANT

) JANETH BREWER
v. )
v )
JANETH BREWER, )
)
Defendant. )
)
)

 

l. This constitutes the plea agreement between JANETH

and the United States Attorney'S Office for

BREWER (“defendant”)

the Central District of California (“the USAO”) in the above-

captioned case.

This agreement is limited to the USAO and cannot

 

bind any other federal,

enforcement,

administrative,

State,

local,

or foreign prosecuting,

or regulatory authorities.

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 2 of 28 Page |D #:11

DEFENDANT'S OBLIGATIONS
2. Defendant agrees to:

a) Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by
the Court, appear and plead guilty to a one-count information in
the form attached to this agreement as Exhibit A or a
substantially similar form.

b) Not contest facts agreed to in this agreement.

c) Abide by all agreements regarding sentencing factors
contained in this agreement.

d) Appear for all court appearances, surrender as
ordered for service of sentence, obey all conditions of any bond,
and obey any other ongoing court order in this matter.

e) Not commit any crime; however, offenses that Would
be excluded for sentencing purposes under United States
Sentencing Guidelines (“U.S.S.G.” or “sentencing Guidelines”)

§ 4A1.2(c) are not within the scope of this agreement.

f) Be truthful at all times With Pretrial Services, the
United States Probation Office, and the Court.

g) Make restitution at or before the time of
sentencing, unless defendant lacks the ability to pay and submits
a completed financial statement to the USAO prior to sentencing,
and not seek the discharge of any restitution obligation, in
Whole or in part, in any present or future bankruptcy proceeding.

h) Pay the applicable special assessment at or before
the time of sentencing unless defendant lacks the ability to pay

and submits a completed financial statement (form OBD-BOO) to the

 

 

10

11

‘12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 3 of 28 Page lD #:12

USAO prior to sentencing.

3. Defendant further agrees to cooperate fully with the
USAO, the Federal Bureau of Investigation, and, as directed by
the USAO, any other federal, state, local, or foreign
prosecuting, enforcement, administrative, or regulatory
authority. This cooperation requires defendant to:

a) Respond truthfully and completely to all questions|
that may be put to defendant} whether in interviews, before a
grand jury, or at any trial or other court proceeding.

b) Attend all meetings, grand jury sessions, trials
or other proceedings at which defendant's presence is requested
by the USAO or compelled by subpoena or court order.

c) Produce voluntarily all documents, records, or
other tangible evidence relating to matters about which the USAO,
or its designee, inquires.

4.' For purposes of this agreement: (l) “Cooperation
Information” shall mean any statements made, or documents,
records, tangible evidence, or other information provided, by
defendant pursuant to defendant's cooperation under this
agreement or pursuant to the letter agreements previously entered
into by the parties dated September lO, 2007 and May 4, 201l
(“the Letter Agreements”); and (2) “Plea Information” shall mean
any statements made by defendant, under oath, at the guilty plea
hearing and the agreed to factual basis statement in this
agreement.

THE USAO’S OBLIGATIONS

5. The USAO agrees to:

a) Not contest facts agreed to in this agreement.

w

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Cas'e 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 4 of 28 Page |D #:13

b) Abide by all agreements regarding sentencing factors
contained in this agreement.

c) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up
to and including the time of sentencing, recommend a two-level
reduction in the applicable Sentencing Guidelines offense level,
pursuant to U.S.S.G. § 3El.1, and recommend and, if necessary,
move for an additional one-level reduction if available under
that section.

d) To recommend that defendant be sentenced at the low
end of the applicable Sentencing Guidelines range provided that
the total offense level as calculated by the Court (prior to any
departure for cooperation) is 19 or higher and provided that the
Court does not depart downward in offense level or criminal
history category (except pursuant to, and to the extent requested
in, a motion by the USAO for a downward departure under U.S.S.G;
§ 5K1.1); Notwithstanding its agreement to recommend the low end
of the Sentencing Guidelines range, the USAO is free to recommend
any conditions of confinement, including imprisonment, if the
total offense level falls within Zone B or`C of the sentencing
table, l

6. The USAO further agrees:

a) Not to offer as evidence in its case-in-chief in
the above-captioned case or any other criminal prosecution that
may be brought against defendant by the USAO, or in connection
with any sentencing proceeding in any criminal case that may be
brought against defendant by the USAO, any Cooperation

Information. Defendant agrees, however, that the USAG may use

 

 

10

11

12

13
14
15
16
17
13
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 5 of 28 Page |D #:14

both Cooperation Information and Plea Information: (1) to obtain
and pursue leads to other evidence, which evidence may be used
for any purpose, including any criminal prosecution of defendant;
(2) to cross-examine defendant should defendant testify, or to
rebut any evidence offered, or argument or representation made,
by defendant, defendant's counsel, or a witness called by
defendant in any trial, sentencing hearing, or other court
proceeding; and (3) in any criminal prosecution of defendant for
false statement, obstruction of justice, or perjury.

b) j Not to use Cooperation Information against
defendant at sentencing for the purpose of determining the
applicable guideline range, including the appropriateness of an
upward departure, or the sentence to be imposed, and to recommend
to the Court that Cooperation Information not be used in
determining the applicable guideline range or the sentence to be
imposed, Defendant understands, however, that Cooperation
Information will be disclosed to the probation office and the
Court, and that the Court may use Cooperation Information for the
purposes set forth in U.S.S.G § lBl.S(b) and for determining the
sentence to be imposed°

c) In connection with defendant's sentencing, to
bring to the Court's attention the nature and extent of
defendant's cooperation.

0 d) If the USAO determines, in its exclusive judgment,
that defendant has both complied with defendant's obligations

under paragraphs 2 and 3 above and provided substantial

assistance to law enforcement in the prosecution or investigation

of another ("substantial assistance"), to move the Court pursuant

5

 

Ull

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 6 of 28 Page |D #:15

to U.S.S.G. § 5Kl.l to fix an offense level and corresponding
guideline range below that otherwise dictated by the sentencing
guidelines, and to recommend a term of imprisonment within this
reduced range.
DEFENDANT'S UNDERSTANDINGS REGARDING COOPERATION
7. Defendant understands the following:

a) Any knowingly false or misleading statement by
defendant will subject defendant to prosecution for false
statement, obstruction of justice, and perjury and will
constitute a breach by defendant of this agreement.

b) Nothing in this agreement requires the USAO or any
other prosecuting, enforcement, administrative, or regulatory
authority to accept any cooperation or assistance that defendant
may offer, or to use it in any particular way.

c) Defendant cannot withdraw defendant's guilty plea

vif the USAO does not make a motion pursuant to U.S.S.G. § 5Kl.l

for a reduced guideline range or if the USAO makes such a motion
and the Court does not grant it or if the Court grants such a
USAO motion but elects to sentence above the reduced range.

d) At this time the USAO makes no agreement or
representation as to whether any cooperation that defendant has
provided or intends to provide constitutes or will constitute
substantial assistance. The decision whether defendant has
provided substantial assistance will rest solely within the

exclusive judgment of the USAO.

e) The USAO's determination whether defendant has
provided substantial assistance will not depend in any way on

whether the government prevails at any trial or court hearing in

6

 

1111

 

10
11
12
13
14
15
16
17
18
19

120
21
22
23
24
25
26
27

28

 

Case 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 7 of 28 Page |D #:16

which defendant testifies or in which the government otherwise
presents information resulting from defendant's cooperation.
NATURE OF THE OFFENSE

8. Defendant understands that for defendant to be guilty of
the crime of conspiracy charged in the information, in violation
of Title 18, United States Code, Section 371, the following must
be true:

First, beginning as early as December 2005, and ending on or
about September 2007, there was an agreement between two or more
persons: (l) to engage in a scheme to commit loan fraud, in
violation of Title 187 United States Code, Section 1014; and
(21 to engage in a scheme to commit wire fraud, in violation of
Title l8, United States Code, Section 1343;

Second, the defendant became a member of the conspiracy

,knowing of at least one of its objects and intending to

accomplish it; and

Third, one of the members of the conspiracy performed at
least one overt act for the purpose of carrying out the
conspiracy.

In order to be guilty of a violation of Title 18, United
States Code, Section 1014, the following must be true:

First, the defendant made a false statement or report to a
financial institution the deposits of which were insured by the
FDIC;

Second, the defendant made the false statement or report
knowing that it was false; k

Third, the defendant did so for the purpose of influencing

in any way the action of the federally insured financial

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23.

24

25

26

27

28

 

Case 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 8 of 28 Page |D #:j

institution.

In order to be guilty of a violation of Title 18, United
States Code, Section 1343, the following must be true:

First, defendant knowingly participated in a scheme to
defraud his victims to obtain money or property by means of false
or fraudulent pretenses, representations or promises;

Two, defendant's statements and actions in furtherance of
the scheme were material, that is, they had a natural tendency to
influence a person to part with money or property;

Three, defendant acted with intent to defraud; and

Fourth, defendant used, or caused someone to use, interstate
wires in furtherance of the fraudulent scheme.

Defendant admits that defendant is, in fact, guilty of the
offense of conspiracy to commit loan and wire fraud as set forth
in the attached information.

PENALTIES AND RESTITUTION

9. Defendant understands that the statutory maximum
sentence that the Court can impose for a violation of Title 18,
United States Code, Section 371 is: 5 years imprisonment; a 3-
year period of supervised release; a fine of $250,000 or twice
the gross gain or gross loss resulting from the offense,
whichever is greatest; and a mandatory special assessment of
$100.

10. Defendant understands that defendant will be required
to pay full restitution to the victims of the offense. Defendant
agrees that, in return for the USAO's compliance with its
obligations under this agreement, the amount of restitution is

not restricted to the amount alleged in the count to which

 

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27.

28

 

Case 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 9 of 28 Page |D #:18

defendant is pleading guilty but may include losses arising from
all relevant conduct encompassed by that charge. The parties
currently believe that the applicable amount of restitution falls
somewhere between Sl million and $2.5 million, but recognize and
agree that this amount could change based on facts that come to'
the attention of the parties prior to sentencing.

11. Defendant understands that supervised release is a
period of time following imprisonment during which defendant will
be subject to various restrictions and requirements. Defendant
understands that if defendant violates one or more of the
conditions of any supervised release imposed, defendant may be
returned to prison for all or part of the term of supervised
release authorized by statute for the offense that resulted in
the term of supervised release, which could result in defendant
serving a total term of imprisonment greater than the statutory
maximum stated above.

'l2. Defendant understands that, by pleading guilty,
defendant may be giving up valuable government benefits andl
valuable civic rights, such as the right to votey the right to
possess a firearm, the right to hold office, and the right to
serve on a jury. Defendant understands that once the court
accepts defendant's guilty plea, it will be a federal felony for
defendant to possess a firearm or ammunition. Defendant
understands that the conviction in this case may also subject
defendant to various other collateral consequences, including but
not limited to revocation of probation, parole, or supervised
release in another case and suspension or revocation of a

professional license. Defendant understands that unanticipated

9

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11' Page 10 of 28 Page |D #:19

collateral consequences will not serve as grounds to withdraw
defendant's guilty plea.

13. Defendant understands that, if defendant is not a
United States citizen, the felony conviction in this case may
subject defendant to removal, also known as deportation, which
may, under some circumstances, be mandatory.. The court cannot,
and defendant's attorney also may not be able to, advise
defendant fully regarding the immigration consequences of the
felony conviction in this case. Defendant understands that by
entering a guilty plea defendant waives any claim that unexpected
immigration consequences may render defendant's guilty plea
invalid.

FACTUAL BASIS

14. Defendant and the USAO agree to the statement of facts
attached as Exhibit B to this agreement. Defendant and the USAO
agree that this statement of facts is sufficient to support a
plea of guilty to the charge described in this agreement and to
establish the Sentencing Guidelines factors set forth in
paragraph 16 below, but is not meant to be a complete recitation
of all facts relevant to the underlying criminal conduct or all
facts known to either party that relate to that conduct.

SENTENCING FACTORS

15. Defendant understands that in determining defendant's
sentence the Court is required to consider the factors set forth
in 18 U.S.C. § 3553(a)(1)-(7), including the kinds of sentence
and sentencing range established under the Sentencing Guidelines.
Defendant understands that the Sentencing Guidelines are advisory

only, that defendant cannot have any expectation of receiving a

10

 

1111

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 11 of 28 Page |D #

ysentence within the Sentencing Guidelines range, and that after

considering the Sentencing Guidelines and the other § 3553(a)
factors, the Court will be free to exercise its discretion to
impose any sentence it finds appropriate up to the maximum set by
statute for the crime of conviction.

16. Defendant and the USAO'agree to the following

applicable Sentencing Guidelines factors:

Base Offense Level : 6 U.S.S.G. § 2Bl.1(a)(2)
Specific Offense

Characteristics:

LOsS ' +16 U¢S.S.G. § 2B1.1(b)(1)(I)

Subject to the previous sentence and paragraphs 5(c) and
5(d) above and 25 below, defendant and the USAO agree not to
seek, argue, or suggest in any way, either orally or in writing,
that any other specific offense characteristics, adjustments or
departures, other than a downward departure pursuant to § 5Kl.1,
relating to defendant's offense level be imposed. Defendant
agrees, however, that if, after signing this agreement but prior
to sentencing, defendant were to commit an act, or the USAO were
to discover a previously undiscovered act committed by defendant

prior to signing this agreement, which act, in the judgment of

`the USAO, constituted obstruction of justice within the meaning

of U.S.S.G. § 3C1.1, the USAO would be free to seek the

enhancement set forth in that section.

WAIVER OF CONSTITUTIONAL RIGHTS
17. Defendant understands that by pleading guilty,
defendant gives up the following rights}

a) The right to persist in a plea of not guilty.

11

 

'20

 

1111

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 Fi`|ed 08/05/11 Page 12 of 28 Page |D #:21

v b) The right to a speedy and public trial by jury.

c) The right to the assistance of an attorney at trial,
including the right to have the Court appoint an attorney to
represent defendant at trial. Defendant understands, however,
that, despite defendant's guilty plea, defendant retains the
right to be represented by an attorney -- and, if necessary, to
have the Court appoint an attorney if defendant cannot afford one
-- at every other stage of the proceeding.

d) The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant
guilty beyond a reasonable doubt.

e) The right to confront and cross-examine witnesses
against defendant.

f) The right to testify on defendant's own behalf and
present evidence in opposition to the charges, including calling
witnesses and subpoenaing those witnesses to testify.

g) The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h1 Any and all rights to pursue any affirmative
defenses, Fourth Amendment or Fifth Amendment claims, and other
pretrial motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION
18. Defendant understands that, with the exception of an
appeal based on a claim that defendant's guilty plea was
involuntary, by pleading guilty defendant is waiving and giving
up any right to appeal defendant's conviction on the offense to

which defendant is pleading guilty.

12

 

 

10
11
12
13
14
15
716
17
18
19
20
.21
22
23
24
25
26
27

28

 

CaSe 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 13 of 28 Page |D #:22

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

19. Defendant agrees that, provided the Court imposes a
total term of imprisonment of no more than 30 months, defendant
gives up the right to appeal all of the following: (a) the
procedures and calculations used to determine and impose any
portion of the sentence; (b) the term of imprisonment imposed by
the Court; (c) the fine imposed by the court, provided it is
within the statutory maximum; (d) the term of probation or
supervised release imposed by the Court, provided it is within
the statutory maximum; (e) the restitution order imposed by the
Court, as long as it does not exceed $2 million; and (f) any of
the following conditions of probation or supervised release
imposed by the Court: the standard conditions set forth in
General Orders 318, Ol-05, and/or 05-02 of this Court; and the
drug testing conditions mandated by 18 U.S.C. §§ 3563(a)(5) and
3583(d).

20. The USAO agrees that, provided (a) all portions of the
sentence are at or below the statutory maximum specified above
and (b) the Court imposes a term of imprisonment of no less than
30 months, the USAO gives up its right to appeal any portion of
the sentence, with the exception that the USAQ reserves the right
to appeal the following: (a) the amount of restitution ordered if
the amount is less than $1 million,

RESULT OF WITHDRAWAL OF GUILTY PLEA

21. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and
succeeds in withdrawing defendant's guilty plea on any basis

other than a claim and finding that entry into this plea

13

 

 

10
11
12
13
14
15
16
17
18
19
20
21
-22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 14 of 28 Page |D #:23

agreement was involuntary, then (a) the USAO will be relieved of
all of its obligations'under this agreement, including in
particular its obligations regarding the use of Cooperation
Information; (b) in any investigation, criminal prosecution, or
civil, administrative, or regulatory action, defendant agrees
that any Cooperation Information and any evidence derived from

any Cooperation Information shall be admissible against

`defendant, and defendant will not assert, and hereby waives and

gives up, any claim under the United States Constitution, any
statute, or any federal rule, that any Cooperation Information or
any evidence derived from any Cooperation Information should be
suppressed or is inadmissible; and (c) should the USAO choose to
pursue any charge that was either dismissed or not filed as a
result of this agreement, then (i) any applicable statute of
limitations will be tolled between the date of defendant's
signing of this agreement and the filing commencing any such
action; and (ii) defendant waives and gives up all defenses based
on the statute of limitations, any claim of pre-indictment delay,
or any speedy trial claim with respect to any such action, except
to the extent that such defenses existed as of the date of
defendant's signing this agreement.
EFFECTIVE DATE OF AGREEMENT

22. This agreement is effective upon signature and
execution of all required certifications by defendant,
defendant's counsel, and an Assistant United States Attorney.

BREACH OF AGREEMENT`
23. Defendant agrees that if defendant, at any time after

the signature of this agreement and execution of all required

14

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 15 of 28 Page |D #:

certifications by defendant, defendant's counsel, and an
Assistant United States Attorney, knowingly violates or fails to
perform any of defendant's obligations under this agreement (“a
breach”), the USAO may declare this agreement breached. For
example, if defendant knowingly, in an interview, before a grand
jury, or at trial, falsely accuses another person of criminal
conduct or falsely minimizes defendant's own role, or the role of

another, in criminal conduct, defendant will have breached this

lagreement. All of defendant's obligations are material, a single

breach of this agreement is sufficient for the USAO to declare a
breach, and defendant shall not be deemed to have cured a breach
without the express agreement of the USAO in writing. If the
USAO declares this agreement breached, and the Court finds such a
breach to have occurred, then:

(a) If defendant has previously entered a guilty plea
pursuant to this agreement, defendant will not be able to
withdraw the guilty plea. y

(b) The USAO will be relieved of all its obligations
under this agreement; in particular, the USAO: (i) will no longer
be bound by any agreements concerning sentencing and will be free
to seek any sentence up to the statutory maximum for the crime to
which defendant has pleaded guilty; and (ii) will no longer be
bound by any agreement regarding the use of Cooperation
Information and will be free to use any Cooperation Information
in any way in any investigation, criminal prosecution, or civil,
administrative, or regulatory action.

c) The USAO will be free to criminally prosecute

defendant for false statement, obstruction of justice, and

15

24

 

111

 

 

 

10

11

12

13

14.

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 16 of 28 Page |D #:25

perjury based on any knowingly false or misleading statement by
defendant.

d) In any investigation, criminal prosecution, or
civil, adminstrative, or regulatory action: (i) defendant will
not assert, and hereby waives and gives up, any claim that any
Cooperation Information was obtained in violation of the Fifth
Amendment privilege against compelled self-incrimination; and
(ii) defendant agrees that any Cooperation Information and any
Plea Information, as well as any evidence derived from any
Cooperation Information or any Plea Information, shall be
admissible against defendant, and defendant will not assert, and
hereby waives and gives up, any claim under the United States'
Constitution, any statute, Rule 410 of the Federal Rules of
Evidence, Rule ll(f) of the Federal Rules of Criminal Procedure,
or any other federal rule, that any Cooperation Information, any
Plea Information, or any evidence derived from any Cooperation
Information or any Plea Information should be suppressed or is
inadmissible. l

COURT AND PROBATIQN OFFICE NOT PARTIES

24o Defendant understands that the Court and the United
States Probation Office are not parties to this agreement and
need not accept any of the USAO’s sentencing recommendations or
the parties’ agreements to facts or sentencing factors.

25. Defendant understands that both defendant and the USAO
are free to: (a) supplement the facts by supplying relevant
information to the United States Probation Office and the Court,
(b) correct any and all factual misstatements relating to the

Court's Sentencing Guidelines calculations, and (c) argue on

16

 

1111

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 17 of 28 Page |D #:26

appeal and collateral review that the Court's Sentencing
Guidelines calculations are not error, although each party agrees
to maintain its view that the calculations in paragraph 16 are
consistent with the facts of this case. While this paragraph
permits both the USAO and defendant to submit full and complete
factual information to the United States Probation Office and the
Court, even if that factual information may be viewed asv
inconsistent with the facts agreed to in this agreement, this
paragraph does not affect defendant's and the USAO’s obligations
not to contest the facts agreed to in this agreement.

26. Defendant understands that even if the Court ignores
any sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to
the maximum established by statute, defendant cannot, for that
reason, withdraw defendant's guilty plea, and defendant will
remain bound to fulfill all defendant7s obligations under this
agreement. Defendant understands that no one -- not the
prosecutor, defendant's attorney, or the Court -- can make a
binding prediction or promise regarding the sentence defendant
will receive, except that it will be within the statutory
maximum.

NO ADDITIONAL AGREEMENTS

27. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the
USAO and defendant or defendant's attorney, and that no
additional promise, understanding, or agreement may be entered

into unless in a writing signed by all parties or on the record

in court,

17

 

 

Case 2:11-cr-OO762-PSG Document 3 Filed 0_8/05/11 Page 18 of 28 Page |D #:27

m w ®‘ w N w

m\l

10
11
12
13
14`
15
16
17
18
19
20
21
22
23
24
25
26
27
23

 

PLEA AGREEMENT PART OF THE GUILTY PLEA'HEARING
28. The parties agree that this agreement will be
considered part of the record of defendant's guilty plea hearing

as if the entire agreement had been read into the record of the

proceeding.
AGREBD AND Acc`EPTEo
UNITED sTATeS ATTORNEY's oFFJ;cE

FOR THE CENTRAL DISTRICT OF CALIFORNIA

ANDRE BIROTTE JR.
United States Attorney

2114/11

PAUL G. STERN
Assistant United States Attorney

J E H BREWER
Defendant

 

 

 

Attorney for Defen ant
Janeth Brewer

RICHAR NAHIGIAN, Q. '/

18

ZOOI lOO’d ZB?S V€B SOBO(V:|)

3 aged

8-'3» //

Date

<3-5.1~1' _

Date .

<C§"'V"'//

Date

 

 

 

den umwe:ues am w:u nozieo;so
XUd 13FUBSUT dH NUSS=OI 1103 80 §nH

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 19 of 28 Page |D #:28

MM__HM_DAN_;
I have read this agreement in its entirety. I have had
enough time to review and consider this_agreement, and I have

carefully and thoroughly discussed every part of it with my

Ul-l>wmi-

attorneyl' I understand the terms of this agreement, and I

voluntarily agree to those terme. I have discussed the evidence

G\

with my attorney, and my attorney has advised me of my rights, of
possible pretrial motions that might be filed, of possible

defenses that might be asserted either prior to or at trial, of

O\Qm\l

the sentencing factors set forth in l8 U.S.C. § 3553(a), of

ll relevant Sentencing Guidelines provisions, and of the l

12 consequences of entering into this agreement. No promises,

13 inducements, or representations of any kind have been made to me
14 other than those contained in this agreement. No one has v

15 ‘threatened or forced me in any way to enter into this agreement.
16 I.am satisfied with the representation of my attorney in this

17 matter, and l am pleading guilty because I am guilty of the

18 charges and wish to take advantage of the promises set forth in

19 this agreement, and not for any other reason,

20

21 (XCu\QM \§1…' ‘¢5~%'11
_ J ET BREWER Date ' .
22 De en ant'

23
24

25
26

 

27
28

19

 

 

ZOO!ZOO`d 2695 VSB SOB(XV.'J) 491'1 B!JEH WJES DHI) ZVI LL lLOZl€O!BO
8 aged , KUd 13EHHSU3 dH NUSS=OT 1102 80 305

WH"

 

wl\)1-\

\O(X)\l

10
11
12
13
14 1

15

 

16
17
18
19
20
21
22
23
24
25
2611
27
28

 

v aged ' xe;l laraass'l aH wess=ot 1102

._ Case 2:11-Cr-OO762-PSG Document 3 Filed 08/05/11 Page 20- of 28 Page |D #:29

CERTIFICATION OF DEFENDANT'S ATTORNEY

l am Janeth Erewer’s attorney, I have carefully and

thoroughly discussed every part of this agreement with my client.

Further, I have fully advised my client of his rights, of
possible pretrial motions that might be filed, of possible
defenses that might be asserted either prior to or at trial, of
the sentencing factors set forth in 18 U.S.C. § 3553(a), of
relevant Sentencing Guidelines provisions, and of the
consequences of entering into this agreement. To my knowledge:
no promises; inducements, or representations of any kind have
been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way
to enter into this agreement; my client's decision to enter into
this agreement is an informed and voluntary one; and the factual
basis set forth in this agreement is sufficient to support my

client's entry of a guilty plea pursuant to this agreement.

"-` ,
%M'Z?M WMW¢L ' ?§”`37//
RICHARD NAHIGIAN ry . save
Attorney for Defe dant

Janeth Brewer

 

20

 

111

 

 

eo Sns

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 21 of 28 Page |D #

EXHIBIT A: ATTACHED PROPOSED INFORMATION

21

 

'30

 

 

 

10
11
.12
13
14
15
'16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 FiledO8/O5/11 Page 22 of 28 Page |D #:31

§§Hl§ll;§
United States v. Janeth Brewer
STATEMENT OF FACTS

1. Capitol Mortgage Services, Inc. (“CMS”) was a real
estate mortgage company with its main place of business in Santa
Maria, California. CMS was formed in July 2003 and operated at
least through October 2008. CMS provided real estate-related
services to its clients, principally involving the preparation
and submission of loan packages to banks or lending companies
(“lenders”) in order to enable CMS’s clients to purchase or

refinance residential properties.

2. Defendant JANETH BREWER (“BREWER”) was a licensed loan

officer who worked at CMS from May 2004 through October 2007. As
a CMS loan officer, defendant BREWER would on occasion prepare
loan applications containing false information on behalf of
clients and submit those applications to lenders to facilitate
the successful funding of CMS‘s clients’ loans.

3. Co-conspirator No. 1 (“CC-l") was a members’ services
officer who worked at CoastHills Federal Credit Union (“CFCU”),
located in Santa Maria, California. CC-l assisted defendant
BREWER in enabling CMS clients fraudulently to qualify for loans
from lenders by providing false information regarding CMS's
clients’ funds on deposit in accounts maintained at CFCU, in
exchange for which CC-l received a fee from defendant BREWER.

4. Co-conspirator No. 2 (“CC-Z") was a tax-preparer and
bookkeeper who operated a tax-preparation business in Santa
Maria, California. CC-2 assisted defendant BREWER in enabling

CMS clients fraudulently to qualify for loans from lending banks

22

1111

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 23 of 28 Page |D #:32

by agreeing falsely to verify the employment of certain CMS
clients at specified businesses in exchange for payment of a fee
by defendant BREWER, notwithstanding that CC-2 was not a tax
preparer for these clients and had no knowledge that they were
actually employed by the specified businesses.

5. Beginning as early as December 2005, and continuing to
on or about September 2007, within the Central District of
California and elsewhere, defendant BREWER, together with CC-l
and CC-2, and others known and unknown to the United States
Attorney, knowingly combined, conspired, and agreed to commit the
following offenses against the United States: (1) to knowingly
make false statements or reports for the purpose of influencing,

in connection with a loan application, the actions of

minstitutions the accounts of which are insured by the Federal

Deposit Insurance Corporation, in violation of Title 18, United
States Code, Section 1014; and (2) to design, participate in, and
execute a scheme to defraud lenders of CMS’s clients through the
use of interstate wires, in violation of Title 18, United States
Code, Section 1343.

6. The object of the conspiracy was carried out, and was to

be carried out, in substance, as follows:

‘ a. ~On certain occasions in which defendant BREWER
determined that a particular CMS client did not have sufficient
financial resources to qualify for a residential loan, defendant
BREWER would contact CC-l and request that CC-l provide a false
verification of bank deposits (“VOD”) for that CMS client,
reflecting that the client had a specified amount of funds on

deposit at CFCU, when in fact the CMS client did not have the

23

 

 

 

 

10
11
712
13
14
15
16
17
18
19
20
21.
22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 24 of 28 Page |D #:33

specified amount of funds on deposit at CFCU.

b. Pursuant to defendant BREWER's request, CC-l would
create false VODs for particular clients of CMS and provide them
to defendant BREWER for inclusion with the loan application
materials submitted by defendant BREWER to the lenders.

1 c. On certain occasions in which defendant BREWER
determined that a particular CMS client did not have the type of
employment that would enable them to qualify for a residential `
loan, defendant BREWER would contact CC-2 and request that CC-2
provide a false verification of employment (“VOE”), reflecting
that the CMS client was employed at a business with a specified
job title, when in fact the CMS client was not employed in the
manner specified by the VOE.

d. Pursuant to defendant BREWER’s request, CC-2 would
create false VOEs for particular clients of CMS and provide them
to defendant BREWER for inclusion with the loan application
materials submitted by defendant BREWER to the lenders.

e. Based on the submission of loan applications by
defendant BREWER on behalf of CMS clients containing false VODs
and VOEs provided to BREWER by CC-l and CC-2, the lenders would
decide to fund these loans and would transmit the loan proceeds

through the use of interstate wires.

f. When CC-l and CC-2 were first contacted by the
lenders and by federal law enforcement in 2006-07 concerning
their role in preparing false VODs and VOEs, they concealed their
collaboration with defendant BREWER and initially denied ever

having created false VODs and VOEs.

24

 

1111

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 25 of 28 Page |D #:34

OVERT ACTS

7.| In furtherance of the conspiracy and to accomplish its
objects, defendant BREWER, together with CC-l and CC-2, and
others known and unknown to the United States Attorney, committed
and willfully caused others to commit the following overt acts,

among others, in the Central District of California and

elsewhere:

Overt Act No. 1: On or about January 3, 2006, defendant
BREWER submitted a loan application on behalf of CMS client No. 1
and his wife to IndyMac Bank, a bank whose deposits were then
insured by the FDIC, which falsely stated that CMS client no. 1
was the self-employed owner of an agricultural harvesting company
for the past three years.

Overt Act No. 2: On or about February 22, 2006,
defendant BREWER paid CC-2 a fee in order prepare a fraudulent
letter verifying that CMS client no. 1 was a self-employed farmer
operating an agricultural harvesting company for the past three

years.

Overt Act No. 3: On or about March 2, 2006, defendant
BREWER requested CC-l to prepare a fraudulent VOD falsely stating
that CMS client no. 1 and his wife had approximately $48,500 in

their bank accounts at CFCU.

Overt Act No. 4: On or about March 2, 2006, CC-lv
provided to defendant BREWER a fraudulent VOD falsely stating
that CMS client no. 1 and his wife had $53,819 in their bank

accounts at CFCU,

Overt Act No. 5: On or about July 6, 2006, defendant

BREWER requested CC-l to prepare a fraudulent VOD falsely stating

25

 

1111

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 26 of 28 Page |D #:35

that CMS client no. 2 had $38,000 in her bank account at CFCU.

Overt Act No. 6: On or about July 6, 2006, CC-l

provided to defendant BREWER a fraudulent VOD falsely stating.

that CMS client n01 2 had $37,434 in her bank account at CFCU.

Overt Act No. 7: On or about July 19, 2006, defendant
BREWER submitted a fraudulent VOD in support of CMS client no.l
2's loan to IndyMac Bank, falsely stating that CMS client no. 2
had $37,434 in his bank account at CFCU,

Overt Act No. 8: On or about August 3, 2006, defendant
BREWER assured CMS client no. 1 and his wife that she would
handle any problems arising from the use of a fraudulent VOE in
connection with client no. 1 and his wife's loan application.

Overt Act No. 9: On or about August 18, 2006, defendant
BREWER submitted a loan application on behalf of client no. 3 to
Argent Mortgage, located in Orange, California, falsely stating
that CMS client no. 3 had $25,000 in her bank account at CFCU.

Overt Act No. 10: On or about September 12, 2006,
defendant BREWER requested CC-l to prepare a fraudulent VOD
falsely stating that CMS client no. 3 had approximately $15,000
in her bank account at CFCU.

Overt Act No. 11: On or out September 13, 2006, CC-l
provided to defendant BREWER a fraudulent VOD falsely stating
that CMS client no. 3 had $14,987 in her bank account at CFCU.

Overt Act No. 12: On or about November 9, 2006,
defendant BREWER requested CC-l to prepare a fraudulent VOD
falsely stating that CMS client no. 4 and his wife had over

$8,500 in their bank account at CFCU.

26

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 2_7 of 28 Page |D #:36

Overt Act No. 13: On or about November 9, 2006, CC-l
provided to defendant BREWER a fraudulent VOD falsely stating
that CMS client no. 4 and his wife had over $10,437 in their bank

account at CFCU.

Overt Act No. 14: On or about November 20, 2006,
defendant BREWER submitted a loan application on behalf of CMS
client no. 4 and his wife to Central Coast One Stop Mortgage
Group, Inc., located in Santa Maria, California, falsely stating

that CMS client no. 4 and his wife had $10,437 in their bank

account at CFCU.

27

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 2:11-cr-OO762-PSG Document 3 Filed 08/05/11 Page 28 of 28 Page |D #:37

CERTIFICATE OF SERVICE

l, YEN| GOMEZ, declare:

Thal; 1 am a citizen of the United States and resident or employed in Los Angeles
County, California; that my business address is the Office of United States Attomey,-
United States Courthouse, 312 North Sprlng Street, Los Angeles, California 90012; that 1
am over the age of eighteen years, and am not a party to the above-entitled action;

That I am employed by the United States Attorney for'the Central Dlstrict of Califorhia
Who is a member of the Bar of the United States Dlstrict Court for the Central District of
California, at Whose direction l served a copy of: PLEA AGREEMENT FOR
DEFENDANT JANETH BREWER ' 7

service was:
[ ] Placed in a closed , _ [X] Placed in a sealed
envelope, for collection envelope for collection and
and interoffice delivery mailing via United States |\/lall,
addressed as fo.|lows: addressed as follows:
[ ] By hand delivery [ ] By facsimile as follows:
addressed as follows:
[ ] By email as follows: [ ] By federal express as follows:

Richard Nahigian

1122 E. Green St.

Pasadena, cA 91106-`2516

This Certiflcate ls executed on August 5, 2011 at Los Angeles, California.
l certify under penalty of perjury that the foregoing ls true and correct.

jEN| YYE2

 

111

 

 

